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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE NORTHERN DISTRICT OF TEXAS
                                 FORT WORTH DIVISION

ROBERT (BOB) ROSS                                 §
                                                  §
VS.                                               §   CIVIL ACTION NO. 4:22-CV-343-Y
                                                  §
ASSOCIATION OF PROFESSIONAL                       §
FLIGHT ATTENDANTS, ET AL.                         §

                           ORDER FOR ADMISSION PRO HAC VICE

        The Court has considered the Application for Admission Pro Hac

Vice of William W. Osborne (doc. 11). The application is granted.

The clerk of Court shall deposit the application fee to the account

of the Non-Appropriated Fund of this Court.

        Further, if Applicant has not already done so, he must

register as an ECF User no later than June 30, 2022, through the

Court’s website.1 The registration instructions are attached to

this order.          Failure to do so may result in the revocation of pro-

hac-vice status and Applicant’s withdrawal from the case.                                See LR

5.1(f) and LCrR 49.2(g).

        SIGNED May 24, 2022.


                                               ____________________________
                                               TERRY R. MEANS
                                               UNITED STATES DISTRICT JUDGE




        1
            At www.txnd.uscourts.gov under filing/electronic case files/ECF User Registration
Form.
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                                  UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS
                                      OFFICE OF THE CLERK

ECF Registration Instructions

1. Determine if you are eligible to register as an ECF User in the U.S. District Court for the
Northern District of Texas. You may register if you are:

        A. A non-prisoner pro se party who has made an appearance as a plaintiff or defendant in a
        civil case in this court;

        B. Admitted to practice to the bar of the Northern District of Texas; or

        C. A licensed attorney who:

                i. has applied or intends to apply for admission pro hac vice;

                ii. has appeared or intends to appear in an MDL case (see JPML Rule 2.1(c)); or

                iii. is exempt from admission to practice pursuant to LR 83.11 or LCrR 57.11.

Note: Registering for ECF in this court does not provide access to electronically file in the U.S.
Bankruptcy Court for the Northern District of Texas. You must follow the bankruptcy court’s
registration requirements found on their website at www.txnb.uscourts.gov.

2. Review the Local Rules and ECF Administrative Procedures Manual.

3. Complete the electronic User Registration Form; alternatively, you may complete a paper User
Registration Form and mail or fax it to the Clerk’s Office at:

Clerk, U.S. District Court
1100 Commerce St., Room 1452
Dallas TX 75242-1003
214.753.2266 (FAX).

If you are eligible to register as an ECF User in this court, the clerk’s office will email an ECF login
to the primary address you note on the registration form.

4. When you receive your login, follow the Maintaining Your Account procedures to change your
password from the one issued to you by the Clerk. You may also change your login if desired.

Use the same instructions to change your login/password at any time.

5. You may use the Forgot Your ECF Password? software to automatically receive a new password
